






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



DR. ARIANNA BENDER, M.D.,


                            Appellant,


v.


ALPHA SOUTHWEST PARTNERSHIP,


                            Appellee.
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No. 08-07-00154-CV



Appeal from the


County Court at Law No. 5


of El Paso County, Texas


(TC# 2003-038)



MEMORANDUM OPINION


	This appeal is before the Court on its own motion for determination whether it should be
dismissed for want of prosecution pursuant to Tex. R. App. P. 38.8.  Finding that the Appellant has 
failed to file a brief, and has not requested an extension of time to do so, we will dismiss the appeal. 

	This Court possesses the authority to dismiss an appeal for want of prosecution when the
appellant fails to file a brief within the time proscribed, and provides no reasonable explanation for
such failure.  Tex. R. App. P. 38.8(a)(1).  By letter dated September 6, 2007, the Clerk of the Court
informed Appellant of the Court's intent to dismiss this appeal for want of prosecution due to
Appellant's failure to file a brief, or request an extension of time to do so.  The Court advised
Appellant that the appeal would be dismissed, without further notice unless she responded within
ten days and provided a reason why the appeal should be continued.  See Tex. R. App. P.  38.8.
Appellant has not responded to the Clerk's notice.  We see no purpose that would be served by
maintaining this appeal at this stage in the proceedings.  Therefore, pursuant to Tex. R. App. P.
38.8(a)(1), we dismiss the appeal for want of prosecution.


						KENNETH R. CARR, Justice


October 11, 2007


Before Chew, C.J., McClure, and Carr, JJ.

McClure, J., not participating


